CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 1 of 7
CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 2 of 7
CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 3 of 7
CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 4 of 7
CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 5 of 7
CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 6 of 7
CASE 0:22-cr-00110-JRT Doc. 9 Filed 07/05/22 Page 7 of 7
